304 F.2d 884
    The GREAT LAKES TOWING CO., etc., Appellantv.GEOTAS COMPANIA.
    No. 16996.
    United States Court of Appeals Eighth Circuit.
    May 2, 1962.
    
      Appeal from the United States District Court for the District of Minnesota.
      Stover &amp; Stover, Milwaukee, Wis., and P. J. Lyons, Duluth, Minn., for appellant.
      William T. Van Evera and W. O. Bissonett, Duluth, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Motion of appellant to dismiss appeal without prejudice granted, and appeal dismissed.
    
    